Case 1:18-cv-00116-LJV-HKS

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

EDWARD ENGELS and
RENEE ENGELS,
Plaintiffs,

vs.

HARBOR FREIGHT TOOLS, USA, INC

Defendants.

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Civil Action No. 1:18-cv-116

DEFENDANT’S RULE 7.1 CORPORATE
DISCLOSURE STATEMENT

Pursuant to Federal Rule of Civil Procedure 7.1, defendant, HARBOR FREIGHT TOOLS

USA, INC., by and through its attorneys, WALSH, ROBERTS & GRACE LLP, hereby declares that

its parent company is HFT HOLDINGS, INC., a Delaware Corporation; and that both HARBOR

FREIGHT TOOLS USA, INC., and its parent corporation, HFT HOLDINGS, INC., are privately held

corporations and that no publicly held corporation(s) owns 10% or more of the stock of either

corporation. Further, there is no corporation known as “HARBOR FREIGHT TOOLS?’ or “UNION

SAFE COMPANY”.

DATED: Buffalo, New York
March 23, 2018

TO: HOGAN WILLIG, PLLC
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